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                                                                  January 21, 2025
  VIA ECF
  Hon. Taryn A. Merkl
  United States Magistrate Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:      Teamsters Local Union No. 804 v. City of New York, et al.,
                  24-CV-8683 (FB)(TAM)

  Your Honor:

          I am the attorney assigned to represent the defendants in this matter. The parties write
  jointly to provide the Court with their agreed upon briefing schedule as to plaintiff’s motion
  seeking a preliminary injunction. (Docket entry dated January 2, 2025).

         The parties have conferred and respectfully propose the following schedule:

         •     Plaintiff will serve his motion and supporting papers on or before March 5, 2025;

         •     Defendants will serve their opposition on or before April 2, 2025;

         •     Plaintiff will file serve reply on or before April 23, 2025; and

         •     The parties will file all motion papers in accordance with the Judge Block’s
               Individual Rules of Practice on or before April 24, 2025.

         Defendants thank the Court for its time and attention to this matter.

                                                                  Respectfully submitted,


                                                                  /s/
                                                                  Hannah V. Faddis
                                                                  Special Federal Litigation Division

  cc:    VIA ECF
         All counsel of record

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